
694 S.E.2d 393 (2010)
STATE
v.
Kyle BERRY.
No. 389A01-3.
Supreme Court of North Carolina.
March 11, 2010.
Marilyn G. Ozer, Chapel Hill, for Kyle Berry.
Joan Cunningham, Assistant Attorney General, Daniel P. O'Brien, Assistant Attorneys General, for State.
The following order has been entered on the motion filed on the 24th of February 2010 by Defendant-Appellant to Dissolve the Stay and Expedite the Dismissal of the Petition for Writ of Certiorari:
"Motion Dismissed as Moot by order of the Court in conference this the 11th of March 2010."
